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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-4332-GW-SPx                                             Date      October 12, 2021
 Title             Steven Hirsch v. The Korea Times Los Angeles, Inc.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS :               NOTICE OF DISMISSAL BY CLERK FOR LACK OF PROSECUTION


On September 28, 2021, an Order to Show Cause for Lack of Prosecution was issued. Plaintiff was
given until October 8, 2021 to respond and no response or objection has been filed. Plaintiff is hereby
notified that this action is dismissed without prejudice.




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                                                               Initials of Preparer   JG
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